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DISTRIGT OF ARIZONA
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, )
Plaintiff, | No. CR 04-0968-PHX-SMM
V.
Gregory K. Priore, ) MINUTE ENTRY
Defendant.

 

Plea proceedings have been set before Judge Duncam on 2005, at 10:30 a.m.
This proceeding is expected to commence at the sch¢du e ting. Counsel is expected
to have spoken to their client prior to the court proceeding
DATE: June 9, 2005 ull /

errdnd, Jah Lf Lif

cc: AUSA Daniel Drake
CJA Mark Berardoni

‘Pr Probation
& Pretrial Services

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